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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           :
                                                 :       CASE NO. 18-69497-BEM
SANDRA BROOKS,                                   :
                                                 :       CHAPTER 7
         Debtor.                                 :
                                                 :

                       NOTICE OF TRUSTEE’S FINAL REPORT AND
                         APPLICATIONS FOR COMPENSATION,
                         DEADLINE TO OBJECT AND HEARING

         S. Gregory Hays, the Chapter 7 Trustee (“Trustee”) for the bankruptcy estate of Sandra
Brooks, has filed a Final Report and the Trustee and the Trustee’s professionals have filed final
fee applications on July 20, 2022 [Dkt No. 52], which are summarized in the enclosed Notice of
Trustee’s Final Report and Applications for Compensation and Deadline to Object (NFR) [Dkt
No. 53].

         Pursuant to Second Amended and Restated General Order No. 24-2018, the Court may
consider this matter without further notice or a hearing if no party in interest files a response or
objection within twenty-one (21) days from the date of service of this notice. If you object to the
relief requested in this pleading, you must timely file your objection with the Bankruptcy
Clerk at: Bankruptcy Clerk, U.S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia 30303, and serve a copy on the Trustee, S. Gregory Hays, 2964 Peachtree Road,
NW, Ste 555, Atlanta, GA 30305, and any other appropriate persons by the objection deadline.
The response or objection must explain your position and be actually received by the Bankruptcy
Clerk within the required time.

         A hearing on the pleading has been scheduled for August 30, 2022. The Court will hold
an initial telephonic hearing for announcements on the Final Report and the Trustee and the
Trustee’s professionals final fee applications at the following number: toll-free number: 833-568-
8864; meeting id: 160 862 0914, at 10:00 A.M., in Courtroom 1402, United States Courthouse,
75 Ted Turner Drive, S.W., Atlanta, Georgia 30303.
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       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the "Hearing
Information" tab on the judge's webpage, which can be found under the "Dial-in and Virtual
Bankruptcy Hearing Information" link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

       If an objection or response is timely filed and served, the hearing will proceed as scheduled.
If you do not file a response or objection within the time permitted, the Court may grant the
relief requested without further notice or hearing provided that an order approving the relief
requested is entered at least one business day prior to the scheduled hearing. If no objection is
timely filed, but no order is entered granting the relief requested at least one business day prior to
the hearing, the hearing will be held as scheduled.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. If you do not have an attorney,
you may wish to consult one.

Dated: July 20, 2022.
                                                       S. Gregory Hays
                                                      S. Gregory Hays
                                                      Chapter 7 Trustee
                                                      Hays Financial Consulting, LLC
                                                      2964 Peachtree Road, NW, Ste 555
                                                      Atlanta, GA 30305
                                                      (404) 926-0060
